Case 1:22-cv-07544-LGS Document 7 Filed 09/28/22 Page 1 of 1

ATTORNEY(S) : The Marks Law Firm, PC
INDEX #! 1:22-ev-7544
PuRCHASED/FILED :

STATE OF ; New York

Court: U.S. District

County/Districtr : Southern Dist.

AFFIDAVIT OF SERVICE - SECRETARY OF STATE

Lawrence Young and on behalf of all other persons similarly situated

Plaintiff(s)
against
Jason Jacques, Inc.
Defendant(s)
STATE OF NEW YORK ) DESCRIPTION OF PERSON SERVED: Approx. Age: 665 Yrs.
COUNTY OF ALBANY }SS TT
CITY OF ALBANY ) Weight: 120 Lbs. Height: 5'0" Sex: Female Color of skin: White
Haircolor: Blonde Other:
Robert Guyette , being duly sworn, deposes and says: deponent is over
the age of eighteen (18) years; is not a party to this action, and resides in the State of NY, and that on
September 21, 2022 ,at 1:00PM _, ai the office of the Secretary of State of the State of NY,

located at 99 Washington Ave, 6th Fl, Albany, New York 12231 deponent served:
Summons In A Civil Action & Complaint with Civil Cover Sheet

on
Jason Jacques, Inc.

the Defendant in this action, by delivering to and leaving with Sue Zouky
AUTHORIZED AGENT in the Office of the Secretary of State, of the State of New York, personally at the
Office of the Secretary of State of the State of New York, two (2} true copies thereof and that at the time of

making such service, deponent paid said Secretary of State a fee of $40 dollars; That said service
was made pursuant to Section BUSINESS CORPORATION LAW §306.

Deponent further says that deponenit knew the person so served as aforesaid to be the agent in the Office

of the Secretary of State of the State of New York, duly authorized to accept such service on behalf of said

defendant. a
Sworn to before me on this fOOD

ist day of

“__ —'Séptember, 2022—" me —"——Robert Goyette ~ Zot. Th
Invoice-Work Order # 2234287
Attorney File # 2230760

FAITH

NOTARY PUBLIC, State of York
Na, OTC 06158874, Albany County
Commission Expires Jan 8, 2023

